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AO 199A (Rev. 12/2011) Modified/Supplemental Order Setting Conditions of Release Page 1 of 1 Pages

UNITED STATES DISTRICT COURT

 

 

 

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for the eee LOGS... RECZ.VED
District of Maryland
JAN 2 2023

United States of America )

v. ) ORB BEE, D SY)

) Case No. GJH-21-348 BY

Brian McQuade )
Defendant )

MODIFIED/SUPPLEMENTAL ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to the following condition(s), in addition to or in lieu of those previously
set in the Court’s earlier order, ECF No. 9, dated 9/20/2021:

1. The defendant is placed in the custody of Elizabeth McQuade at an address approved by the Pretrial

 

Services Office.

 

2. Travel is restricted to the Washington Metropolitan Area (DMV).

 

 

 

 

 

 

 

 

 

 

 

 

 

All conditions previously imposed in ECF No. _9_ remain in full force and effect unless otherwise modified hereby.

Date: January 25, 2023 LE LZ—

~ Judicial Officer’s Signature

 

 

George J. Hazel, United States District Judge
Printed name and title

 
